         Case 3:17-cr-00226-JO       Document 114       Filed 06/20/18    Page 1 of 26




                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                    PORTLAND DIVISION




UNITED STATES OF AMERICA,                           )
                                                    )
                       Plaintiff,                   )   CASE NO. 3:17-CR-00226-JO
                                                    )
                                                    )
                  v.                                )           AMENDED
                                                    )       OPINION AND ORDER
W. JOSEPH ASTARITA,                                 )
                                                    )
                                                    )
                       Defendant.                   )


JONES, Judge:

        This matter is before the court on defendant's motion in limine to exclude from trial the

reports, testimony and exhibits of government experts Frank Piazza, Victoria Dickerson, Michael

Haag, Kevin Turpen, and Toby Terpstra [# 65] Defendant challenges the reliability of this

evidence and contends it should be excluded under Fed. R. Evid. 702 and case law following

Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993), which as of June 1, 2018, has been

cited 2149 times by the Supreme Court and in published opinions of the federal Courts of

Appeals. In addition, defendant asserts that presenting this evidence to a jury would pose a

danger of unfair prejudice that substantially outweighs its probative value so that it should be

excluded under Fed. R. Evid. 403. For the following reasons, the motion is granted in part and

denied in part.




1- Opinion and Order
        Case 3:17-cr-00226-JO        Document 114        Filed 06/20/18     Page 2 of 26




                                            BACKGROUND

       On the afternoon of January 26, 2016, members of the FBI Hostage Rescue Team

("HRT") and the Oregon State Police Special Weapons and Tactics Team ("OSP") stopped two

vehicles carrying the leaders of the armed takeover of Malheur National Wildlife Refuge. One

of the vehicles, a white Dodge pickup driven by Robert Lavoy Finicum sped away from the

scene of the stop and headed north on Highway 395. OSP and HRT set up a roadblock on

Highway 395 to stop Finicum's truck and apprehend its occupants, including Finicum, Ryan

Bundy and Shawna Cox.

       As Finicum approached the roadblock at speeds up to 70 mph, an OSP officer ("OSP

Operator 1") fired three rounds, hitting Finicum's truck in the hood, grill, and driver's side

mhrnr. Finicum drove off the road to the left of the roadblock and plowed into a deep snow

bank, nan-owly missing Special Agent JN. Finicum opened the driver's side door and emerged

from the truck with his hands spread. At that approximate time, two additional shots were fired

("shots 4 and 5"), one of which perforated the roof of Fini cum' s truck and shattered the left rear

window. The other did not hit anything of significance for the present purposes.

       Finicum confronted two OSP operators, disregarding repeated commands to stop and get

down on the ground. Two OSP officers shot Finicum a total of three times as he appeared to

reach for a weapon in a pocket of his coat, where officers subsequently found a loaded handgun.

Finicum died at the scene. The shooting occmTed at approximately 4:30 p.m.

       These events were recorded by aerial video taken from two FBI fixed-wing aircraft

circling approximately two miles from the scene ("FBI video"). Contemporaneously, Shawna




2- Opinion and Order
        Case 3:17-cr-00226-JO         Document 114       Filed 06/20/18     Page 3 of 26




Cox filmed the events from the back seat of Finicum's truck with a SLR camera that recorded

both audio and video ("Cox video").

        Approximately nine hours later, Deschutes County Deputy Sheriff Kevin Turpen, Oregon

State Police Forensic Scientist Victoria Dickerson and others arrived to measure and reconstruct

the shooting scene. They used a total station device to measure the location of Finicum' s truck

and the other evidence at the scene. Turpen used these measurements to create a computer

assisted diagram of the scene. Examination ofFinicum's truck revealed the bullet hole from shot

4 or 5 in the roof ("Impact W"), in addition to the three impacts from shots fired by OSP

Operator 1 as the truck approached the roadblock. Dickerson estimated the trajectory of each

round, including the round that caused Impact W.           Turpen added Dickerson's trajectory

estimates to his diagram to indicate the likely location from which each shot was fired. He did

not make his own trajectory estimates.

        In the course of the investigation, all the shots fired by OSP operators were accounted

for; the three that hit the front of Finicum's truck as it approached the roadblock and the three

that hit Finicum after he emerged from his truck. No one admitted firing the shot that hit the roof

ofFinicum's truck or the one that missed. The allegations against defendant in this case are that

he fired shots 4 and 5 and then falsely denied doing so, not that he shot Finicum.

       The government hired Frank Piazza as an audio/video expert to examine the FBI videos

and the Cox video, synchronize the recordings and create a side-by-side playback. The

government retained Michael Haag to examine Finicum's trnck and determine whether a reliable

trajectory estimate could be made for the bullet that caused Impact W.




3- Opinion and Order
        Case 3:17-cr-00226-JO         Document 114       Filed 06/20/18      Page 4 of 26




       The government retained Toby Terpstra to take the data provided by Piazza, Haag, and

others to reconstruct the scene into a 3-D animation model. Terpstra took 3-D measurements of

Finicum's truck and the shooting scene. He used twelve "camera matches" from photographs or

still frames from videos to position the vehicles in his model and three camera matches to

position the individuals. He then added Haag's trajectory data for the shot that caused Impact W.

Terpstra's 3-D animation model places defendant within the area shown as the likely origin of

the shot that caused Impact W.

       During a four-and-a-half day Daubert hearing, the court heard testimony from Piazza,

Dickerson, Turpen, Haag, Terpstra and Professor Jeffrey Smith. The defense put on experts

Bruce Koenig, Andrew Bray, Matthew Noedel, Eugene Liscio and Clifford Mugnier, to

challenge the work of the plaintiffs experts, but not to create reconstructions of their own.



                                         LEGAL STANDARDS

       A person qualified as an expert by lmowledge, skill, experience, training or education

may provide expert testimony if his or her specialized lmowledge will help the trier of fact to

understand the evidence or to determine an issue of fact.        Fed. R. Evid. 702.     The expert

testimony must be both relevant and reliable. Daubert, 509 U.S. at 589. The proponent of the

expert testimony bears the burden of establishing its admissibility by a preponderance of the

evidence. Daubert, 509 U.S. at 592 n.10.

       The Ninth Circuit Court of Appeals recently summed up Daubert and its progeny in

Murray v. Southern Route Maritime SA, 870 F.3d 915, 922-23 (9th Cir. 2017):

                     The Court in Daubert . . . constructed a flexible test
              examining the ''reliability" and "fit" of the offered expert
              testimony. See id. at 589-92, 113 S.Ct. at 2786.



4- Opinion and Order
        Case 3:17-cr-00226-JO          Document 114        Filed 06/20/18      Page 5 of 26




                        The question ofreliability probes "whether the reasoning or
               methodology underlying the testimony is scientifically valid." Id.
                at 592-93, 113 S.Ct. 2786. To give shape to the inquiry, the court
                identified four factors that may beaT on the analysis: (1) whether
               the theory can be and has been tested, (2) whether the theory has
               been peer reviewed and published, (3) what the theory's ]mown or
               potential error rate is, and (4) whether the theory enjoys general
                acceptance in the applicable scientific community. See id. at 593-
                94, 113 S.Ct. 2786. But the Court was quick to emphasize that the
               factors are not "a definitive checklist or test" and that the reliability
                analysis remains a malleable one tied to the facts of each case. Id.
                at 591, 593, 113 S.Ct. 2786. Later cases have reiterated that the
               Daubert factors are exemplary, not constraining. Kumho Tire Co.
               v. Carmichael, 526 U.S. 137, 150, 119 S.Ct. 1167, 143 L.Ed.2d
               238 (1999); id. at 159, 119 S.Ct. 1167 (Scalia, J., concurring)
               ("[T]he Daubert factors aTe not holy writ ... ").
                        It is important to remember that the factors are not "equally
               applicable (or applicable at all) in every case." Daubert v. Merrell
               Dow Pharm., Inc., 43 F.3d 1311, 13176 (9th Cir. 1995).
               Applicability "depend[s] on the nature of the issue, the expert's
               particular expertise, and the subject of his testimony." Kumho Tire
               Co., 526 U.S. at 150, 119 S.Ct. 1167 (citation omitted). A district
               court may permissibly choose not to examine factors that are not
               "reasonable measures of reliability in a particular case." Id. at 153,
               119 S.Ct. 1167.
                        Because of the fluid and contextual nature of the inquiry,
               district courts are vested with "broad latitude" to "decid[e] how to
               test an expert's reliability" and "whether or not [an] expert's
               relevant testimony is reliable." Id. at 152-53, 119 S.Ct.1167.
               District judges play an active and important role as gatekeepers
               examining the full picture of the experts' methodology and
               preventing shoddy expert testimony and junk science from
               reaching the jury. See Daubert, 509 U.S. at 595-97, 113 S.Ct.
               2786.

870 F.3d at 922-23.

       This gatekeeping function applies to any expert testimony, not just scientific opinions.

Primiano v. Cook, 598 F.3d 558, 564-65 (9th Cir. 2010). The district court's role is limited to

ensuring the soundness of the expert's methods and does not include finding facts about the

correctness of the expert's conclusions or the credibility of the witness. Primiano, 598 F.3d at

564-65; Daubert, 43 F.3d at 1318. Shalcy but admissible evidence is to be attacked at trial by

5- Opinion and Order
           Case 3:17-cr-00226-JO      Document 114        Filed 06/20/18     Page 6 of 26




cross examination, impeachment, opposing expe1t testimony, contrary evidence, and proper

application of the burden of proof, not by pretrial exclusion. Primiano, 598 F.3d at 564.

                                            ANALYSIS

       I.       Frank Piazza

       The government seeks to elicit the expert opinion of Frank Piazza, an audio engineer who

owns and operates a forensic audio-video company. The government summarized his work as

follows.

                        Mr. Piazza identified where in the Shawna Cox video the
                fourth and fifth shots rang out. He relied on more than just visual
                cues in maldng that determination. He listened critically to the
                audio track on the Cox video using professional grade headphones
                in a controlled environment. He listened at different playback
                speeds, and coupled what he heard with spectrographic analysis
                and visual cues from the video - shrapnel or debris coming
                through the headliner of Finicum's pickup truck, and the left rear
                window shattering - to locate the gunshots.

                        Mr. Piazza synchronized the Cox video and the FBI video.
               He converted both to a format suitable for editing, set both to run at
               30 frames per second, and used professional editing software to
               narrow the time frame in both videos to focus on pertinent events.
               He looked for and matched fixed points visible in both videos,
               including Finicum's truck passing a post on the left side of the road,
               and Finicum opening the driver's door and emerging from the truck
               while raising his hands. He produced a single video that plays the
               synchronized videos together, with the Cox video playing in the
               lower left comer of the FBI surveillance video.

                        He . . . noted the elapsed time counter for the matching
               frames in each video - to 1/1 OOth of a second. Professor Smith
               reviewed Mr. Piazza's work and confirmed that his
               synchronization was well within an acceptable range of error. He
               also confirmed that Mr. Piazza's methodology in locating shots
               four and five on the Cox video, and in synchronizing the Cox
               video with the FBI video, were scientifically sound. Mr. Piazza
               initially estimated an error rate for the synchronized video of± 3
               frames. In preparing for the hearing, however, he discovered a
               glitch in the Cox video that occurred approximately 20 seconds
               after the last rounds were fired. At that point, the two videos were

6- Opinion and Order
        Case 3:17-cr-00226-JO       Document 114       Filed 06/20/18     Page 7 of 26




              off by approximately 10 frames (1/3 of one second). When shots
              four and five were fired, the two videos were properly synched.

                      Mr. Piazza enhanced the FBI surveillance video to aid in
              tracldng the movements of the operators at the shooting scene. He
              adjusted the lighting, contrast, and color. He manually stabilized
              the video, sharpened the video (being mindful of the adverse effect
              caused by over-sharpening), slowed its playback, and placed
              colored circles around the various operators. The enhanced videos
              are reliable, relevant, and helpful to the jmy, because they help
              track the movements of various operators at the scene. Notably,
              neither the synchronized video nor the video Toby Terpstra used to
              create his camera-matched 3-D scene re-creation were enhanced.

       The defense contends Piazza erroneously synchronized the FBI and Cox videos and

altered the edges of objects in the video he sharpened. The defense summarized their objections

as follows.

                      Deputy Turpen's diagrams and Mr. Terpstra's model
              purport to position people and other objects at the precise moment
              at which the shot that struck the Finicum truck was fired. Both
              Turpen and Terpstra admitted that their analyses depend on
              accurately selecting the precise frame from the overhead FBI video
              that captures that moment. The government hired Frank Piazza to
              identify that frame by analyzing the "Cox video" and
              synchronizing that video with the FBI video . . . He never
              submitted a meaningful report documenting his methods and failed
              to maintain notes of his work or screen captures documenting his
              settings on any of the (at least three) software programs he used.

                       In its brief, the government promised that Mr. Piazza would
              testify that his sync "may be off by a frame at most, and likely
               less" (emphasis in original). But Mr. Piazza admitted on direct
              examination that his sync might actually be off by as many as ten
              frames in either direction. On cross-examination, that error rate
              expanded to eleven frames in either direction (a 23-frame range).
              And another government expert, Professor Jeff Smith, was only
              willing to label as "reliable" a synchronization range of 34 frames.
              This is critical because the positions of all of the individuals in
              those frames-not just Special Agent Astarita-are essential to
              understanding who may have been in a position to shoot. And
              during the 34-frame loop that the government played during the
              hearing, several people were seen materially changing position,
              underscoring the need to identify the precise frame depicting those

7- Opinion and Order
              Case 3:17-cr-00226-JO     Document 114        Filed 06/20/18      Page 8 of 26




                   individuals' positions when the key shot was fired. But neither
                   Mr. Piazza, Dr. Smith, nor any other expert was able to do so.

                                                    RULING

          Piazza is qualified by training and experience to identify sounds on audio recordings,

  synchronize video recordings depicting the same content from different vantage points, and to

  apply filters and other software tools to enhance video images. He is qualified to provide expert

  testimony with respect to those matters.

          With respect to the synchronization e1TOr of one-third of a second, I suspect asking

  whether a person can move an appreciable distance in that brief instant is akin to an intellectual

  speculation from the old adage "how many angels can dance on the head of a needle." On the

  other hand I take judicial notice under Fed. R. Evid. 201, that the world record for the 100 yard

  dash is only 9.5 8 seconds, demonstrating a person can travel quite a bit in the briefest of times, at

• least when unencumbered by police tactical gear.         Because of a potential enor range, the

  prosecution must show that the operators depicted in the synchronized video did not alter their

  positions materially during the pertinent time.

          The conected Piazza synchronized video demonstrates at 34:46 the first three shots hit

  Finicum's truck, at 34:54 shots 4 and 5 can be heard, and at 35:06 the three shots that killed

  Finicum occutTed. The locations of individuals at the time of shots 4 and 5 is to be determined by

  the jury.

          Piazza's use of a nmTow-band spectrograph does not warrant exclusion. Piazza found the

  gunshots readily identifiable on the spectrogram by high sound pressure that appeared "like a

  brick wall" coupled with the simultaneous sound of gunshots and visual cues. There were no N

  waves, echo, or reverberation on the Cox audio track.        In sum the defendant's objections to




  8- Opinion and Order
           Case 3:17-cr-00226-JO             Document 114          Filed 06/20/18         Page 9 of 26




Piazza's report and testimony go to the weight of the evidence. The jury will make the ultimate

determination after hearing all the admissible evidence in the case.



         II.      Victoria Dickerson

         The government seeks to elicit the expert opinion of Victoria Dickerson, a senior forensic

scientist employed by the Oregon State Police.                 The government summarized her work as

follows.

                           [W]hen Ms. Dickerson placed a ballistic rod in Impact W,
                  she found that it lacked stability due to the size of the hole.
                  Accordingly, she used a centering cone to stabilize the rod. The
                  rod itself passed thrnugh the hole and followed the bullet's path as
                  it traveled through the headliner material and into the cab of
                  Finicum's truck. Importantly, the rod lined up perfectly with the
                  lead-in mark and pinch point of Impact W, resulting in an accurate
                  horizontal azimuth angle that was within three degrees of the angle
                  measured by Michael Haag. Ms. Dickerson's vertical angle
                  measurement differed from Mr. Haag's, but that was because she
                  measured the angle of the path the bullet took as it passed through
                  the headliner, rather than the angle at which it was traveling when
                  it first made contact with the ttuck's roof. She acknowledged the
                  bullet likely deflected once it struck the roof. 1 ... She found no
                  reason to deviate from the industry-standard margin of error of ±
                  5° when measuring Impact W." ECF [102]

         The defense contends Dickerson's trajectory measurement 1s unreliable

because she used a centering cone to assist in the placement of the trajectory rod and

that she measured the deflected path of the bullet through the roof of Fini cum' s truck

and not the path the bullet took from the muzzle of the gun to the truck. The defense

summarized their objections as follows

                        "[T]he evidence established that Ms. Dickerson's trajectory
                 measurement (which was incorporated into Deputy Turpen's
                 diagrams) is unreliable for two main reasons. First, as Ms.

   The horizontal azimuth angle ofimpact Wis the critical measurement in this case, since all of the operators were
standing on the ground when shots 4 and 5 were taken.

9- Opinion and Order
       Case 3:17-cr-00226-JO        Document 114        Filed 06/20/18      Page 10 of 26




              Dickerson and Mr. N oedel explained, by placing a "centering
              cone" in Defect W, Ms. Dickerson necessarily assumed that the
              bullet passed through the center of the defect, even though Defect
              W was nearly twice the width of the .223 caliber round that the
              government alleges created that defect. The government did not
              present evidence that the method satisfies any of the Daubert
              factors: there is no evidence that the method has been tested or
              subjected to peer review, that it has a !mown error rate, that there
              are published standards governing its application, or that it is
              generally accepted in the field. Indeed, the Oregon State Police do
              not have a standard operating procedure for the use of centering
              cone trajectory analysis.

                      Second, as both Ms. Dickerson and government expert
              Michael Haag acknowledged, Ms. Dickerson's method-passing a
              trajectory rod through both Defect W and one of three holes under
              the roof's insulation and liner-measured (albeit imprecisely) the
              bullet's trajectory after it struck the roof and deflected, rather than
              before it strnck the roof. The importance of that distinction is
              apparent in Ms. Dickerson's estimation of the vertical angle of the
              shot (depicted in yellow, below), which passes far over the heads
              of all of the potential shooters:




             Ms. Dickerson brnshed aside the significance of that deflection
             error by baldly asse1iing-with no forensic or other supporting
             evidence whatsoever-that although the round clearly deflected
             vertically, it did not deflect horizontally at all. But government
             expert Michael Haag's book makes clear that there is no basis for
             such an assumption:




10- Opinion and Order
        Case 3:17-cr-00226-JO                             Document 114                           Filed 06/20/18                        Page 11 of 26




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                  theltOi·izorital plan~ at' the l.rication of-the everit; 3 O'clock is dltectly to.the tight;
                  9 o'Cloak"is.directlv tothe left, and· so-forth.


                        In short, as Matt N oedel explained and Mr. Haag
                acknowledged, Ms. Dickerson's estimate of post-impact trajectory
                (which is itself flawed because of the "centering" process) is not a
                reliable proxy for the bullet's pre-impact path, which is the only
                path that matters." [ECF #103]

                                                                                  RULING

        Ms. Dickerson is a senior forensic scientist who has been employed by the Oregon State

Police (OSP) for over thirteen years. She is the technical leader for the entire forensic division.

During her time with the OSP, she has conducted over 100 crime scene investigations, received

ongoing training, written and published numerous instructions and articles on a variety of crime

scene investigation topics, held memberships and leadership positions in professional forensic

organizations and appeared as an expert witness in nineteen cases. She is a well-qualified expert

in the field of bullet trajectory and bullet path reconstruction.

       In her report, Dickerson stated that the truck was embedded in the snow with the

passenger side angled downward toward the highway at an approximate 14 to 15 degree angle.

She observed that three of the four impacts were made by bullets traveling from the front of the

vehicle to the rear. The fourth, Impact W, was made by a bullet traveling from the rear of the

vehicle to the front During the Daubert hearing, Dickerson testified that the size of Impact W

measured approximately 10 mm. in width and 20 mm. in length and described Impact W as

having a longer pinch point than sometimes can be seen but not out of the ordinary. She noted

that when she inserted the trajectory rod through Impact W, the rod lined up with both the lead-in


11- Opinion and Order
           Case 3:17-cr-00226-JO            Document 114          Filed 06/20/18        Page 12 of 26




    mark and the pinch point. Using the two-point method, Dickerson estimated the trajectory of the

    bullet that entered Finicum's vehicle at Impact W as traveling at a downward angle of 20° and

    from left to right at an angle of 35° left of midline. She said her estimates had a certainty of ±5°.

    At the Daubert hearing, Dickerson acknowledged that her measurements reflected the trajectory

    of the deflected bullet after it perforated the roof of the vehicle. 2

            Defense expert Noedel asserts that Dickerson's use of the centering cone made her

measurements unreliable because a centering cone assumes the bullet passes through the center

    of the opening created by the bullet and the trajectory rod aligns through a single position

making the trajectory rod swivel and rotate because the ends of the rod are not anchored to

anything. However, he stated that the use of centering cones is not as much of a method as an

assist to a multi-point assessment. Indeed, when Dickerson used a centering cone to stabilize her

trajectory rod, the rod passed through two distinct points W and W2. Dickerson testified she

used the two-point method.

           The parties cite numerous articles and books analyzing bullet trajectories.3                        The

references report actual test data using various methods to measure bullet trajectory, including

the two-point method used by Dickerson. The bullet trajectory literature reveals that the two-

point method can be tested, has been tested, and has been subjected to peer review and

publication.

           Noedel asserts that the two defects used by Dickerson are too close together providing an

uureliable angle estimate. Neither patty provided a measurement of the distance between Impact


2
  Presumably, all two-hole trajectory measurements record a bullet's deflected path if the first impact is through a
substance solid enough to affect the path of a bullet.
3
  E.g., Dean H. Garrison, Jr. "Practical Shooting Scene Investigation" Universal Publishers/Upublish.com 2003;
Erwin J.A. T. Mattijssen, & Wim Kerkhoff, Bullet trajectory reconstruction - Methods, accuracy and precision, 262
Forensic Science Int'l 204 (2016); Michael G.Haag & Lucien C. Haag, Shooting Incident Reconstruction (Academic
Press 2008) (2006).

12- Opinion and Order
        Case 3:17-cr-00226-JO          Document 114        Filed 06/20/18      Page 13 of 26




 W in the roof of Finicum's truck and the hole in the cloth headliner where the bullet exited the

 roof of the truck and entered the cab. But, Dickerson testified that in order to measure the

vertical angle using an inclinometer, she needed to attach an extension to the trajectory rod. This

 indicates that the two points were not exceedingly close.

        Dickerson applied an error rate of ±5° and saw no reason to apply a different error rate

because she used the centering cone. According to government expe1t Michael Haag, the ±5°

error rate has served as an "industry standard" for many years based on empirical testing and

collective experience. Even defense expert Noedel noted that the error rate of ±5° was probably

appropriate for the two-point method, although he would apply a larger range of error given the

use of the centering cone.

        The two-point method received broad acceptance among bullet trajectory expe1ts. As

N oedel stated in his Declaration, "The most common and widely accepted method for bullet path

reconstruction is ... the two-point trajectory rod method." Declaration of Matthew Noedel p. 2

During the hearing he testified that the two-point method is clearly accepted and used by

everybody who is practicing bullet path analysis.

        The parties agree that Dickerson's method would measure the bullet's deflected path

from the time the bullet struck Finicum's truck until it exited through the headliner. The parties

do not agree as to the direction the bullet deflected or if it deflected at all after striking Finicum's

truck. That issue is a matter for the jury. It goes to the weight of the evidence and not the

reliability of the method Dickerson used.



III.   Michael Haag




13- Opinion and Order
       Case 3:17-cr-00226-JO       Document 114        Filed 06/20/18      Page 14 of 26




       As noted, the prosecution seeks to elicit the expert opinion of Michael Haag, a forensic

scientist specializing in the reconstruction of shooting scenes. The government summarized his

work as follows.

                       Michael Haag is a published author and recognized
               authority in the field of shooting incident reconstruction. He is
               extremely well qualified in the fields of ballistics and trajectory
               analysis, and used reliable and relevant techniques to conduct a
               valid trajectory analysis in this case. He has trained ballistics and
               trajectory analysts nationally and internationally for many years.
                       Mr. Haag noted that each shooting scene is unique; no
               single measurement technique works in all situations. An
               experienced ballistics and trajectory expett will select an
               appropriate method of measurement based on the nature of the
               impact, and the examiner's training and experience. Every
              trajectory measurement method - even the "two-point" method
               described by Matthew Noedel - involves some degree of
               subjectivity.
                       Mr. Haag found nothing patticularly unusual or atypical
              about Impact W. Many of its characteristics are commonly seen in
              low-angle impacts. In fact, he was able to reproduce many of
              Impact W's characteristics in testing he did in connection with this
              case (Ex. DH 29-32). A German police ballistics laboratory was
              able to do so as well (Ex. DH 34-46).
                       Mr. Haag used the rocker point method to measure Impact
              W, as it was the best and most reliable measurement method given
              the circumstances. He first learned of that technique in 2004, and
              has been training others in its use since 2006. He listed over 20
              law enforcement agencies from Los Angeles to Boston that
              currently use the rocker point method to measure low-angle
              impacts like Impact W, and find it reliable. He demonstrated the
              technique in court, using low-angle bullet holes in sheet metal.
                       Mr. Haag conducted empirical studies using low-angle
             impacts in sheet metal and the same caliber ammunition involved
             in this case. He measured the trajectories of each of those impacts
             using the rocker point method, and documented his measurements
             with a 3-D laser scanner. Each measurement was within five
             degrees of the actual angle of origin (Ex. DH 21-26, 33). In
             addition, he pointed to peer-reviewed literature and ballistics
             textbooks that describe the rocker point method using different
             names (such as the lead-in method, or placing the ballistic rod
             against the "shoulder" at the leading edge of the perforation).
             While Mr. Haag coined the term "rocker point method," the
             technique itself is recognized and used by other experts in the field.

14- Opinion and Order
       Case 3:17-cr-00226-JO        Document 114        Filed 06/20/18     Page 15 of 26




                       Mr. Haag described the differences between how he
               measured Impact W, and how Ms. Dickerson measured it. She
               measured the angle of the bullet's path after it penetrated the
               truck's roof; he measured its angle when it first contacted the roof.
               Thus, their vertical angle measurements differed. However, for the
               horizontal azimuth angle, which is the critical measurement for
               Impact W, they both measured along the lead-in mark and the
               pinch point, and those measurements were within three degrees of
               each other.       Mr. Haag testified to his measurements to a
               reasonable degree of ballistics certainty, and found no reason to
               depart from the industry-standard error range of± 5°.


       The defendant contends that Haag's rocker point method is an unreliable methodology

for estimating trajectory and that Haag's claimed range of error has no basis. The defense

sunnnarized their objections as follows.

                       Mr. Haag measured the bullet's pre-deflection trajectory by
               using his "rocker point" method. But Mr. Haag admitted-and
               Mr. N oedel confirmed-that unlike the more reliable "two-point"
               method, his rocker point method relies heavily on the "subjective
               feel" of the examiner. Ms. Dickerson testified that the Oregon
               State Police do not have a standard operating procedure describing
              the method, nor was she even aware of it until Mr. Haag trained
              her in October 2016. Mr. Noedel confirmed that the method is not
              described in any detail in the literature or generally accepted in the
              connnunity, and Mr. Haag admitted that it is not even described in
              his own book or training materials. According to Mr. Haag, the
              method-which in this case involved the use of duct tape and a
              clamp-is a "minor technique" amounting to only a "small part" of
              the classes he teaches.
                      Mr. Noedel explained that the method's reliability is further
              unde1mined by its extreme sensitivity to small errors. Because (as
              Mr. Haag confirmed) only approximately 1 centimeter of the
              trajectory rod's tip is used to take the measurement, even miniscule
              mistakes can result in dramatic errors: Mr. Noedel explained that a
              one-millimeter error (roughly the diameter of the point of a pencil)
              can throw off the measured trajectory angle by 14 degrees.
                                           ***
                      Ms. Dickerson assumed that a± 5° margin of error applied
              to her centering cone measurements. But the record is utterly
              devoid of any support for that assumption, and Ms. Dickerson
              herself did not cite any foundational basis for relying on this enor
              rate. None of the government's experts offered any studies, tests,

15- Opinion and Order
       Case 3:17-cr-00226-JO       Document 114        Filed 06/20/18      Page 16 of 26




              or other evidence of the error rate that should properly be applied
              to centering cone measurements.
                       Similarly, there are no reliable, statistically valid data
              supporting the application of a± 5° margin of error to Mr. Haag's
              rocker point method. In its brief, the govermnent relied primarily
              on a 2008 paper authored by Mr. Haag ("2008 Study") to support
              that error rate. But as defense expert Dr. Andrew Bray testified,
              the 2008 Study was plagued by fatal structural and statistical
              errors: (1) lack of "blinding" (i.e., students knew the answers
              before taldng their measurements); (2) conditions were not held
              constant (i.e., no way of knowing which or how many of the~ 450
              shots were measured using the rocker point method versus some
              other method, were fired into sheet metal versus some other
              medium, were fired at shallow versus steep angles, etc.); (3)
              contrary to NIST recommendations, "outlier" values were simply
              discarded from the dataset; (4) operations were mis-ordered; (5)
              the study failed to take a weighted average of results across all of
              the various scenarios; and (6) Mr. Haag improperly assumed that
              his results followed a bell-shaped, or "Gaussian," distribution.
                      Although Mr. Haag testified that he agreed with many of
              Dr. Bray's criticisms of his study and the way in which he handled
             his data, Mr. Haag stubbornly stood by his ± 5° margin of etTor
              assumption for two reasons, neither of which was supported by any
             reliable, statistically valid data. First, Mr. Haag pointed out that he
              and others used that standard even before he published his 2008
             paper. But as Mr. Noedel explained, the evolution of that
             "standard"-derived from little more than folldore derived from
             people connecting two points with string and pencils in walls-
             only highlights how necessary the 2008 Study was in introducing
             statistical rigor to a field that did not have it before. Mr. Haag
             wrote his paper for a reason, and without it, the empirical support
             for the standard collapses. Second, Mr. Haag contended that his ±
             5° margin of error is supported by the 19 shots he fired into sheet
             metal in preparation for the hearing, each of which he apparently
             measured within 5° of the true value. But the Court should be
             suspicious of the results of a test perforrned by the leading
             proponent of the method, specifically for purposes of the litigation
             at hand, without any blinding. Moreover, despite the cautionary
             note in Mr. Haag's 2008 Study that "[g]ood scientifically
             defensible methods often require an in-depth statistical analysis,"
             Mr. Haag failed to offer any statistical analysis of those 19 shots.
             In order to calculate a reliable margin of error, Mr. Haag would
             have had to consider the distribution of the data points, calculate an
             appropriate standard deviation, and apply other applicable
             statistical criteria. Mr. Haag did none of this. Mr. Haag's 2008
             Study also notes that "a larger cone [than ± 5°] may be necessary

16- Opinion and Order
           Case 3:17-cr-00226-JO           Document 114           Filed 06/20/18        Page 17 of 26




                   for shallow angle shots" like those at issue here. But there are no
                   reliable studies establishing what the size of that cone should be.
                   (Footnotes omitted)

                                                     RULING

           Haag is a highly qualified ballistics and trajectory analyst who has trained law

    enforcement personnel on the subject for many years and has published papers based on studies

    of the subject. He is well qualified to opine on the procedures and techniques used for maldng

trajectory estimates. Notably, he has no qualification in statistical analysis to assess the degree

    of statistical certainty or probability associated with measurement procedures.

           Haag was a pioneer in what he calls the "rocker point" method that he used to estimate

the trajectory of the bullet that caused Impact W. He opined that the trajectory of that shot had a

downwaTd angle of nine degrees relative to the roof of Finicum's truck. He said the shot had a

horizontal azimuth angle of 122°4 relative to a straight line running lengthwise down the center

of Fini cum' s truck. The general direction of flight of the shot that caused Impact W was from

the right rear toward the left front. Haag opined that his trajectory measurements were reliable to

±So.

           Haag demonstrated his rocker point technique in court with Government's Exhibit 37

using shallow angle bullet holes in sheet metal on a box and inserting a rod to demonstrate

trajectory. He has instructed numerous law enforcement agencies in using the technique for

shallow angle bullet impacts since approximately 2006. Haag identified standards controlling'

how the rocker point method is to be applied. There must be a low angle impact with a lead in

mark of sufficient length that a centimeter or more of the trajectory rod settles into and stabilizes

in the primary bullet defect when the evaluator applies pressure. Although these standards may


4
  Dickerson estimated the horizontal azimuth of35° from the midline of the vehicle. Haag's estimate, if done from
the midline would be 32°.

17- Opinion and Order
       Case 3:17-cr-00226-JO         Document 114        Filed 06/20/18       Page 18 of 26




appear ill-defined to a lay person, I am satisfied that an experienced ballistics and trajectory

specialist with proper training would be able to apply the procedure and that Haag faithfully did

so in making his trajectory estimate for the shot that caused Impact W.

       The underlying methodology can be repeated and tested for accuracy and precision.

Haag performed empirical testing of the method by firing shallow angle shots 14 times into sheet

metal and 5 times into a vehicle. He estimated the trajectory of these shots using the rocker point

method and his results were accurate within ±5°. Haag's empirical testing method was not ideal,

however, because of the small sample size and because he is the proponent of the method and

failed to blind himself from the true trajectory when testing its accuracy.

       Defense experts Andrew Bray and Matthew Noedel described how they would design

studies to measure the accuracy of the rocker point method. They admit such testing is feasible,

but point out that the record does not show that it has been accomplished. They claim Haag's

2008 article titled "Accuracy and Precision of Trajectory Measurements" failed to properly

assess the accuracy of the rocker point method. I agree with Bray and N oedel that the study does

not provide a valid statistical assessment of the accuracy of the rocker point method.

Nevertheless, Bray's impressive statistical evaluation of Haag's study does not overcome the

collective lmowledge derived from use of the tecimique in the field by law enforcement

personnel for at least a decade. Of note, the many law enforcement groups Haag has trained who

report regularly using the rocker point method for dete1mining trajectory for low angle shots

include the Toronto Police Department, Washington State Patrol, San Diego Police Department,

Sacramento County Crime Lab, Salt Lake City Police Department, Texas Rangers, Mesa Police

Department, Johnson County Kansas, Boston Police Department, Contra Costa County, New

Mexico State Crime Scene Team, Philadelphia Police Department, Montana State Crime Lab,



18- Opinion and Order
        Case 3:17-cr-00226-JO        Document 114       Filed 06/20/18     Page 19 of 26




West Valley Utah Police Department, Phoenix Police Department, Minnesota Bureau of

Criminal Apprehension, Richland County South Carolina Sheriffs Office, and others.

        The record also demonstrates further degree of acceptance of the rocker point method in

the ballistics and trajectory measurement field.      In a 2016 article titled "Bullet trajectory

reconstruction - Methods, accuracy and precision," Mattijssejn and Kerkoff attempted to

measure the relative accuracy and precision of three methods for estimating bullet trajectory.

They found the "lead in" method, which, like Haag's rocker point method, involved estimating

trajectory by aligning a probe with the lead in portion of the bullet defect, was more accurate

than other methods tested for low angle shots.

        Haag also asserts that his trajectory measurements are within ±5° based on a longstanding

industry standard for all trajectory measures regardless of method. This basis is somewhat

suspect because the rocker point method is a relatively new technique. Haag began teaching the

rocker point method in approximately 2006 and Dickerson, a professional forensic scientist, had

not heard of it until 2016. Nevertheless Haag has taught this method to hundreds of law

enforcement trainees and presumably it has been used extensively in the field.

       On the record before the court, it does not appear that the rocker point method has been

subjected to significant publication, but no single factor is essential under Daubert. Defendant

objects to the subjectivity of the operator's "feel" involved in the rocker point method. Here, the

"feel" is palpable when placing the ballistic rod so that it settles into the lead in part of a low

angle bullet impact, such as those provided in Government's Exhibit 37. As noted, not every or

any of the Daubert factors are essential if I am satisfied that the methodology passes muster,

though imperfect. Haag may testify at trial and give his opinion on trajectory, subject to rigorous

cross-examination by the defense and contrary expert testimony.



19- Opinion and Order
       Case 3:17-cr-00226-JO        Document 114       Filed 06/20/18    Page 20 of 26




       IV.         Kevin Turpen

       The government seeks to elicit the testimony of Kevin Turpen as both a fact witness and

an expert witness. He measured the scene using a total station measuring device. With the

assistance of diagramming software, he used that data and the measurements provided by

Dickerson and others, to create a scaled diagram of the shooting scene (Ex. DH 14). Although

he lacks an advanced degree and has not published any scientific mticles, he has taken courses in

crash investigation, crash reconstrnction, and been trained on the use of diagramming software

for crash and crime scene documentation. He has participated in over 75 criminal crash scene

investigations.

                                           RULING

         Turpen is qualified by specialized training and experience to offer lay and expert

opinions on his crime scene reconstrnction.     He produced diagrams using the methodology

commonly used by crash scene investigators and reconstruction expe1ts. With respect to shot

trajectory, his opinion and diagrmns are based on Dickerson's trajectory estimate.        If her

trajectory estimate is off, his diagrams will be off as well. Any weaknesses in his testimony or

diagrams can be addressed through cross-examination and other expert testimony.



       V.         Toby Terpstra

       The government seeks to elicit the expert opinion of Toby Terpstra, a 3-D computer

animation and reconstruction expe1t. The government summarized his work as follows.

                      Toby Terpstra and his company, Kineticorp LLC,
              produced a 3-D recreation of the shooting scene immediately
              before shots four and five were fired. He analyzed surveillance
              video from two FBI planes, a syncln·onization of the Shawna Cox


20- Opinion and Order
         Case 3:17-cr-00226-JO              Document 114          Filed 06/20/18         Page 21 of 26




                  and FBI videos, video footage taken near the scene by a private
                  citizen, and still images taicen near the time of the shooting. In
                  addition, he documented Finicum's truck and the shooting scene
                  with 3-D laser scanners and a total station measuring device. He
                  and two other Kineticorp employees used computer software to
                  process over 192,000,000 3-D data points to build a virtual model
                  of the scene. They then used camera matching photogramrnetry to
                  place the vehicles and personnel into the virtual model, and
                  positioned them as they were just before shots four and five were
                  fired.

                          Mr. Terpstra used 12 different camera matches to place the
                  vehicles and three camera matches to place the operators into the
                  3-D model. He also placed Mr. Haag's trajectory cone into the
                  model. Mr. Terpstra demonstrated the precision and accuracy of
                  his camera match by showing how even minor changes to the
                  orientation and placement of the vehicles or operators resulted in
                  misalignment. 5

                           Defendant criticized Mr. Terpstra for placing the virtual
                  camera at the wrong height and using the wrong focal length lens.
                  However, Mr. Tetpstra demonstrated that so long as the virtual
                  camera is on the same line of sight - and it was - the height of the
                  camera and focal length of the lens could be adjusted without
                  distorting or changing the view of the scene. Defendant also
                  criticized Mr. Terpstra for failing to conect for lens distortion.
                  However, Mr. Terpstra did cotTect for lens distortion where he had
                  information about the lens that was used. He could not conect for
                  lens distortion for the FBI video because he had no access to
                  information on the lens used to create the video. In any event, he
                  saw no signs oflens distortion in the FBI video.

                        Finally, defendant criticized Mr. Terpstra for using the
                 wrong frame to create his 3-D model. The confusion arose
                 because the video synchronization Mr. Terpstra attributed to Frank
                 Piazza was actually done by someone else, and it differed from Mr.
                 Piazza's synchronization by nine frames - a total of 0.3 seconds.
                 Thus, Mr. Terpstra's model accurately depicts the vehicles and
                 operators 0.3 seconds before shot five. Although defendant claims
                 that some of the operators were moving at the time of the shots,
                 they could not have moved much in 0.3 seconds, particularly when
                 weighed down by tactical gear and winter clothing. Furthermore,
                 the video shows that defendant stood still, in a shooting stance,


5
  Mr. Terpstra has used the analytical camera matching software favored by Mr. Liscio, but found that it reported
"false" camera matches that were visually wrong, requiring manual correction.

21- Opinion and Order
       Case 3:17-cr-00226-JO       Document 114        Filed 06/20/18     Page 22 of 26




              with his rifle trained on Finicum's truck, while the other two
              operators moved away from the trajectory cone.

                      Professors Jeff Smith and Catalin Grigoras of the
              Univeristy of Colorado Denver's National Center for Media
              Forensics reviewed Mr. Terpstra's report and methodologies.
              They found that Mr. Terpstra's report was "thorough" and "well
              documented," that he properly applied principles of 3-D scene
              reconstruction using scan data, computer modeling, and image
              analysis, and that his range of certainty was "scientifically sound."
              Mr. Terpstra used accepted, published, and reliable methods in his
              work, and created a 3-D model that is reliable, relevant, and
              helpful to the jury.


       The defense contends Terpstra is not an expert in forensic science and that, in addition to

using the wrong frame from the FBI video as the basis of his analysis, the methodology he used

to make his model is unreliable. The defense summarized their objections as follows.

                      Although Mr. Terpstra claims to have used
              "photogrammetry," he is admittedly not an expert in that field; he
              is an animator with no bachelor's degree in any discipline, mnch
              less in any field of forensic science. He also conceded that, while
              he may have used millions of datapoints to create an accurate
              depiction of the road and other landmarks (the chessboard,
              essentially) and to construct models of the trucks (some of the
              chess pieces), the critical task of arranging the pieces (the people
              and trucks) on that board was a manual, subjective process.

                      Terpstra also conceded that he used the wrong frame from
              the FBI video as the foundation of his analysis, a problem that, by
              his own admission, renders every significant diagram in his report
              unreliable. He did not, as he claimed in his report, rely on Mr.
              Piazza's synchronization to choose that frame. Instead, he relied
              on a synchronization whose methods and error rates are not
              described anywhere in the record. And he admitted that, even if he
              had used Mr. Piazza's sync, his model failed to account (and
              should have accounted) for where each individual was located over
              the entire error range identified by Mr. Piazza, not merely the one
              (wrong) frame Mr. Terpstra analyzed.

                     Furthermore, in creating his model, Terpstra admittedly did
              not apply his "camera matching" method correctly:



22- Opinion and Order
       Case 3:17-cr-00226-JO       Document 114        Filed 06/20/18     Page 23 of 26




                      •      He admitted that: (1) he relied on lane markers for
              his matching without realizing that those markers had changed
              since the time of the shooting; (2) this affected the accuracy of his
              model; but (3) he could not quantifY this error.

                      •       Studies cited by Terpstra in his own report
              emphasize that "the accuracy [of camera matching] depends on the
              ability of the user to accurately place the [virtual] camera in the
              correct position with the correct focal length" (emphasis added).
              Nevertheless, Terpstra admitted that with respect to the FBI
              Video-the one picture that really matters-he placed his "virtual
              camera" over 3,500 feet away from where it should have been and
              assumed a focal length that was completely wrong. He conceded
              that there is absolutely nothing in the literature to suggest that
              erroneous camera positioning and focal length do not matter so
              long as the virtual camera is placed along the same line of sight as
              the actual camera. To the contrary, Terpstra demonstrated that
              changing a camera's distance and focal length can distort the
              resulting image even if the camera remains on the same line of
              sight with the correct camera positioning. But his model in no way
              accounts for this error.

                      •       He agreed that his analysis assumes that the truck
              remained in precisely the same position during the entire 20-
              minute period during which the 12 photos used for his camera
              matching were taken after the shots were fired. He had no idea
              that the truck had settled in the snow after Round 5 was fired and
              did not take this fact into account at all.

                      •       Although Terpstra has written at least three papers
              cautioning about errors that can result in camera matching when
              lens distortion goes uncorrected, he admitted that he: (1) did not
              correct for lens distortion in nine of the twelve images used in his
              analysis; (2) omitted this fact from his report; and (3) does not
              know anything about the FBI cameras that might support his
              assumption that it was safe to completely ignore lens distortion
              instead of correcting for it.

                     Finally, even if Terpstra had faithfully applied accepted
             camera matching techniques, he admittedly failed to account for
             significant errors that are inherent in those techniques. He
             admitted that, although his report does not assume any accuracy
             errors at all, camera matching itself does have an error rate-some
             distance between where camera matching says an object is versus
             where it actually is. He further conceded that the applicable error
             rate changes from scenario to scenario, photograph to photograph,
             and object to object. For example, the "Coleman Study" cited in

23- Opinion and Order
          Case 3:17-cr-00226-JO              Document 114           Filed 06/20/18         Page 24 of 26




                   Terpstra's report-which relied on much clearer pictures than
                   those at issue here, taken at much closer ranges-still recorded
                   enors of up to 19.6 cm (nearly 8 inches). Mr. Terpstra's own
                   study, which he discussed when he was recalled to the stand, relied
                   on     measurements      taken      by     multiple     professional
                   photogrammetrists employed by Mr. Terpstra's company, each of
                   whom believed they had used camera matching to "align" the
                   photographs co1Tectly, exactly as Terpstra claims to have done
                   here. Again, the images in that study were of much higher quality,
                   and taken at much closer ranges, than the images at issue in this
                   case. Despite all of that, the average enor rate among those
                   professional photogrammetrists was 13 inches (33cm). But Mr.
                   Terpstra did not build in an enor rate of 8 or 13 inches into his
                   analysis. He admittedly did not build in any error rate at all,
                   instead inexplicably assuming that the error rate was zero. 6

                                                           RULING


         Mugnier, a giant in the field of analytical photogrammetry, described Terpstra's method

as "graphic art" rather than photogrammetry. But this criticism misses the mark. Terpstra does

not claim to be an expert in analytical photogrammetly. He did not have the opportunity to take

multiple clear photographs of the shooting scene from different angles. Accordingly, analytical

photogrammetry could not possibly be used in this situation. If it could, perhaps Mugnier's

criticism would be apt.

         In creating his 3-D animation model, Terpstra took the imperfect images that were

available and applied a camera matching technique with some similarity to photogrammetry to

create a 3-D animation model that fit the images as closely as he could. In doing so he exercised

his expertise as a forensic 3-D animator. Notably Mugnier aclmowledged being pretty much a

layman regarding camera matching techniques.                     What he condemned Terpstra's work as,

"graphic art," is what it is - 3-D animation is graphic art. That does not mean it is inaccurate.


6
  Terpstra admitted that his "range of certainty" is not an error rate. Rather, it is a rough measure ofprecision (how
much he could "wiggle" the model with it still subjectively looking right to him), rather than a measure of accuracy
(how far away Terpstra is from the right answer).

24- Opinion and Order
           Case 3:17-cr-00226-JO          Document 114          Filed 06/20/18        Page 25 of 26




           At this juncture, I am persuaded that the government failed to meet its burden of showing

    Terpstra's animation model should be admitted in full at trial. Terpstra placed vehicles in his

    model with 12 cross referenced camera matches of relatively clear images. This method can be

    tested and repeated as shown by Liscio's critique. That part ofTerptra's model can be presented

    at trial and challenged by cross examination.

           Terpstra relied on only three camera matches to place the individuals in his model. The

    still frames he used did not provide clear images of the individuals, only fuzzy smudges. The

images were of such poor quality I am unconvinced that this methodology could accurately place

the location of the individuals and the positions in which they are posed in the model. The clear

image of the model depicting defendant with his rifle shouldered and trained on Fini cum' s truck

was not the product of a reliable methodology and involved excessive subjectivity. To present it

to a jury would suggest a degree of ce1iainty that cannot be justified and would be unduly

prejudicial under Rule 403. 7

           Accordingly, the government will not be permitted to demonstrate Terpstra's model to

the jury unless it proves useful to illustrate the testimony of eye witnesses who may be called to

identify the positions of people or vehicles at the time of the shooting.            However, without such

identification by witnesses, Terpstra's animation model may not be presented as an accurate

representation of what is depicted in the FBI still frames that look like fuzzy smudges.




7
  Surprisingly there are a scant number of cases dealing with 3-D animation or computer simulation. Most are
unpublished trial court opinions or not relevant. The two decades old Ninth Circuit case Byrd v. Guess, 137 F.3d
1126, 1134 (9'" Cir. 1998) (superseded on other grounds) upheld limited use of computer animation under Rule 403.

25- Opinion and Order
       Case 3:17-cr-00226-JO        Document 114        Filed 06/20/18   Page 26 of 26



                                              COMMENT

       All counsel have performed diligently demonstrating the highest level of competence and

professionalism in preparing and presenting the complex issues to the court. I look forward to

our final pretrial conference to commence July 16 and trial July 24.

       IT IS SO ORDERED.
                        6-
       DATED this UJ day of June, 2018.



                                             Robert E. Jone Se ·or Judge
                                             United States · 1ct Court




26- Opinion and Order
